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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                       Criminal No. 09-341 (10) (RHK/JSM)

                      Plaintiffs,                       ORDER

v.

Idowu Ayinla Sadiq,

                      Defendant.


      Before the Court is Defendant’s Idowu Ayinla Sadiq’s Motion for Revocation of

Detention Order (Doc. No. 396); the Motion is opposed by the United States.

      In conducting its de novo review of Magistrate Judge Boylan’s decision to detain

Defendant, the undersigned has reviewed the transcript of the preliminary detention

hearing before Magistrate Judge Boylan, his Order on Motion for Reconsideration on

Detention (Doc. No. 143), including the affidavits submitted by Defendant in connection

with that Motion. In addition, the Government’s Response to the instant Motion is also

before the Court.

      Having now reviewed all of the foregoing, the Court concludes that Judge

Boylan’s decision to detain Defendant Sadiq is fully supported by the record before him.

Accordingly, IT IS ORDERED that Defendant Sadiq’s Motion for Revocation of

Detention Order (Doc. No. 396) is DENIED.

Dated: March 15, 2010

                                         s/Richard H. Kyle
                                         RICHARD H. KYLE
                                         United States District Judge
